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 5   Additional Counsel for
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 6

 7                              UNITED STATES DISTRICT COURT

 8                           NORTHERN DISTRICT OF CALIFORNIA

 9

10     IN   RE:    ROUNDUP             PRODUCTS           MDL No. 2741
       LIABILITY LITIGATION                               Case No. 16-md-02741-VC
11
                                                           PLAINTIFF AARON SHELLER’S
12     This document relates to:                           RESPONSE TO THE ORDER TO
                                                           SHOW CAUSE WHY THE SHELLER
13     Sheller v. Bayer AG, et al., Case No. 3:19-cv-      CASE SHOULD NOT BE DISMISSED
       07972                                               FOR FAILURE TO ADEQUATELY
14                                                         ALLEGE STANDING
15

16                                         INTRODUCTION
17          Plaintiff Aaron Sheller respectfully responds to the Court’s September 19, 2024 Order to
18   show cause why his lawsuit should not be dismissed for failure to adequately allege standing.
19
            Plaintiff Sheller and the proposed class allege that they have suffered a concrete,
20
     particularized, and actual injury in fact: exposure to glyphosate caused by use of Monsanto’s
21
     Roundup at levels sufficient to significantly increase their risk of non-Hodgkin’s lymphoma
22

23   (“NHL”) relative to the general population. They seek a remedy that Indiana and other states

24   provide for this injury: payment or reimbursement from Monsanto for the monitoring necessitated

25   by this exposure and increased risk to detect, and through early intervention ameliorate, the
26   consequences of NHL. These allegations suffice to satisfy every predicate and element of the
27
     negligence claims they bring and medical monitoring relief they seek, under the law of Indiana
28
                                                   -1-
      Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
      Should Not Be Dismissed For Failure To Adequately Allege Standing, Case No. 3:19-cv-07972
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 1   and the other states included in the class. Plaintiff thus establishes standing under controlling

 2   Supreme Court and Ninth Circuit law.
 3
              First, Plaintiff has Article III standing because Indiana law recognizes medical monitoring
 4
     relief for traditional tort claims, like negligence, even in the absence of present physical injury.
 5
     Second, in the Ninth Circuit, an allegation of increased risk of injury can suffice to establish an
 6
     Article III injury-in-fact where the increased risk of injury is credible and not conjectural.
 7

 8   Moreover, the Ninth Circuit’s recent decision in Bowen v. Energizer Holdings, Inc., No. 23-

 9   55116, 2024 U.S. App. LEXIS 24741, *20 (9th Cir. Oct. 1, 2024), instructs that this Court should
10   not resolve merits issues, here the quantification of risk, to resolve Article III standing at this
11
     stage.
12
              Consistent with Supreme Court and Ninth Circuit law on standing and Indiana law
13
     regarding medical monitoring relief for traditional tort claims, Plaintiff has alleged a credible
14

15   injury in fact. He has alleged that glyphosate is a probable human carcinogen, identified numerous

16   studies which have found a connection between exposure to glyphosate and disease (including

17   NHL), described his significant exposure to Roundup over 15 years, and alleged that this exposure
18   has caused him to be at increased risk of disease necessitating medical monitoring. Thus, this
19
     Court should find that Plaintiff has satisfied Article III’s standing requirements at this stage.
20
     Finally, the question whether Plaintiff has representative capacity to represent class members in
21
     other states should be deferred to the Court’s class certification analysis under Fed. R. Civ. P. 23.
22

23            Plaintiff respectfully requests that this Court find that Plaintiff has demonstrated cause

24   why his allegations satisfy Article III standing. Alternatively, Plaintiff requests leave to amend.

25                                          FACTS ALLEGED
26            The active ingredient in Roundup, glyphosate, is a broad-spectrum herbicide, which has
27
     been designated by the United Nations International Agency for Research on Cancer (“IARC”)
28
                                                      -2-
      Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1   as a Class 2A “probable carcinogen” based on the mechanistic evidence of carcinogenicity in

 2   humans and sufficient evidence of carcinogenicity in animals. An IARC Working Group further
 3
     found an increased risk between exposure to glyphosate and NHL. Sheller Compl. ¶¶ 45–51.
 4
     Numerous other studies have demonstrated the carcinogenicity of glyphosate and/or Roundup, as
 5
     well as the serious and dangerous risks associated with the use of and exposure to Roundup
 6
     including the increased risk of NHL. Id. ¶¶ 34–39, 70–71.1
 7

 8            A resident of Indiana, Plaintiff is a partial owner of Sheller Farms, LLC (“Farm”). As an

 9   owner who works the acreage owned by the Farm and other acreage for which the Farm is
10   contracted to work, Plaintiff regularly participated in the spraying of 300 to 700 gallons of
11
     Roundup on approximately 1,000-3,000 acres of farmland twice per year for 15 years. See, e.g.,
12
     Sheller Compl. ¶¶ 12-13, Ex. A. Until in or about 2018, Plaintiff only wore gloves while spraying
13
     Roundup but was not warned and did not know he should wear any other protective gear. Id.
14

15   Plaintiff alleges that, as a direct and proximate result of being exposed to Roundup, he is at an

16   increased risk for developing NHL and other illness. Id.

17            Plaintiff originally filed his complaint in the United States District Court for the Southern
18   District of Indiana, and was transferred to this District by the JPML. For his Indiana state law
19
     negligence claim, Plaintiff seeks relief in the form of medical monitoring to detect any latent
20
     disease processes as early as possible. Id. ¶ 9.2
21
                                            LEGAL ARGUMENT
22
              To maintain an action in federal court, a plaintiff must have “(1) suffered an injury in fact,
23

24   (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

25

26
     1
       Originally filed Sept. 30, 2019, Plaintiff’s Complaint could be amended to include additional
27   evidence and studies with the Court’s leave.
     2
       See also Sheller Compl. ¶ 8 (defining multistate Medical Monitoring Class).
28
                                                      -3-
         Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1   redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)

 2   (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). “To establish injury in fact [for
 3
     Article III standing], a plaintiff must show that he or she suffered ‘an invasion of a legally
 4
     protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not conjectural
 5
     or hypothetical.’” Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at 560). “At the pleading
 6
     stage, general factual allegations of injury resulting from the defendant’s conduct may suffice.”
 7

 8   Lujan, 504 U.S. at 561.

 9                   A. Indiana law recognizes medical monitoring as a tort remedy “even if there
                        is no evidence of a present physical injury.”
10
              Because jurisdiction in the federal courts is based on diversity of citizenship, Indiana
11

12   substantive law and federal procedural law govern. Ross Dress for Less, Inc. v. Makarios-Oregon,

13   LLC, 39 F.4th 1113, 1118 (9th Cir. 2022). “[F]ederal courts are bound by decisions of a state's

14   intermediate appellate courts unless there is persuasive evidence that the highest state court would
15
     rule otherwise.” King v. Order of United Com. Travelers, 333 U.S. 153, 158 (1948). Where a
16
     state’s highest court has not addressed a question, federal courts must use “intermediate appellate
17
     court decisions, decisions from other jurisdictions, statutes, treatises, and restatements as
18
     guidance to decide how the [Indiana] Supreme Court would rule.” Ross Dress for Less, Inc., 39
19

20   F.4th at 1118 (citing In re Kirkland, 915 F.2d 1236, 1238-39 (9th Cir. 1990)).

21            Plaintiff has alleged a common law claim for negligence under Indiana law, including the
22   elements of duty,3 breach,4 and proximate cause.5 See Kelly v. Ind. BMV, 234 N.E.3d 222, 227
23
     (Ind. App. 2024). For that reason alone, Plaintiff has stated a plausible claim at this stage. Medical
24

25

26
     3
       Sheller Compl., ¶¶ 89, 104 (describing duties).
27   4
       Id., ¶¶ 5, 42, 71,105–109 (listing Defendant’s breaches of duties).
     5
       Id., ¶¶ 9, 111–112 (describing causation between Defendant’s breaches and Plaintiff’s injury).
28
                                                     -4-
         Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1   monitoring is the relief that Plaintiff seeks for his negligence claim. The Indiana Court of Appeals

 2   recognized that a plaintiff may obtain medical monitoring as a tort remedy even absent present
 3
     physical injury. See Gray v. Westinghouse Elec. Corp., 624 N.E.2d 49, 54 (Ind. Ct. App. 1993)
 4
     (rejecting the argument that the plaintiffs “contentions are insufficient to entitle him to damages
 5
     for medical monitoring”). There is absolutely no “persuasive evidence” that the Indiana Supreme
 6
     Court would “rule otherwise,” making Gray controlling.
 7

 8          In Gray, an owner of property adjacent to a city dump filed a nuisance claim after the

 9   defendant’s contractors disposed of toxic chemicals at the dump over a period of years. He alleged
10   that his property became contaminated, which put “his health . . . at risk” and sought “medical
11
     monitoring to diagnose health problems caused by latent disease processes.” Id. at 52. The trial
12
     court granted the defendant’s motion to dismiss for failure to state a claim.
13
            On appeal, the Indiana Court of Appeals reversed. The plaintiff argued in relevant part
14

15   that, because his health was “at risk” from the toxic chemical contamination, the issue of damages

16   had been sufficiently pled. The Court of Appeals agreed, and it emphasized whether the plaintiff

17   was entitled to damages (i.e., monitoring costs), and how much, were questions of fact. Id. at 54.
18          Gray is consistent with Indiana law permitting a plaintiff to recover for the universe of
19
     harm proximately caused by a defendant’s tortious conduct, including future medical expenses.
20
     See, e.g., Atterholt v. Herbst, 902 N.E.2d 220 (Ind. 2009) (plaintiff entitled to damages caused by
21
     defendant’s tortious conduct); Griffin v. Acker, 659 N.E.2d 659 (Ind. Ct. App. 1995)
22

23   (acknowledging availability of damages for future medical expenses); IND. MODEL CIV. JURY

24   INSTR. 703 (permitting award of damages for necessary future medical care). For this reason,

25   several federal courts have recognized that Indiana law recognizes a claim for medical monitoring
26
     damages. See In re Zantac (Ranitidine) Prods. Liab. Litig., 546 F. Supp. 3d 1152 (S.D. Fla. 2021);
27
     Allgood v. GMC, No. 1:02-cv-1077-DFH-TAB, 2005 LEXIS 43693 (S.D. Ind. Sep. 12, 2005).
28
                                                     -5-
      Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1            Instructive is the MDL court’s decision in In re Zantac (Ranitidine) Prods. Liab. Litig.

 2   There, plaintiffs filed a medical monitoring class action complaint alleging they used the
 3
     defendant’s product, which allegedly increased the plaintiffs’ risk of cancer. Applying Indiana
 4
     law, the Zantac court concluded that “the Indiana Supreme Court would recognize medical
 5
     monitoring as an available remedy” in a negligence action. Id. at 1162, 1166. The court explained
 6
     that “[a]t least one Indiana appellate court [Gray] and one federal district court [Allgood] have
 7

 8   recognized medical monitoring as a form of damages,” id. at 1166,6 and recognized that “Gray is

 9   also consistent with Indiana caselaw permitting plaintiffs to recover for all harms proximately
10   caused by a defendant’s tortious conduct, including future medical expenses.” Id. at 1165.
11
     Consistent with Indiana law, at this stage, Mr. Sheller’s allegations are sufficient to establish a
12
     colorable “injury-in-fact.”
13
                     B. General allegations of credible injury suffice at the pleading stage to
14                      survive a challenge to Article III standing.
15
              At the September 19, 2024 case management conference, this Court questioned whether
16
     Plaintiff needed to quantify the level of exposure or increased risk to survive an Article III
17
     standing challenge. However, at this stage, Plaintiff need only allege facts sufficient to
18
     demonstrate that the alleged increased risk of injury is credible and not conjectural, but does not
19

20   need to quantify the risk which would require resolution of factual issues going to the merits.

21   Bowen v. Energizer Holdings, Inc., 2024 U.S. App. LEXIS 24741, *20 (9th Cir. Oct. 1, 2024). See
22   also Krottner v. Starbucks Corp., 628 F.3d 1139, 1142 (9th Cir. 2010) (“…a plaintiff seeking to
23

24

25   6
       See also id. at 1166–67 (explaining that Allgood contemplated medical monitoring in cases
     involving “a recognized tort such as nuisance,” and thus Allgood “contemplated medical
26   monitoring damages for torts beyond just nuisance, and negligence certainly qualifies as a
27   recognized tort.”) (internal citations omitted).

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         Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1   compel funding of a medical monitoring program after exposure to toxic substances satisfies the

 2   injury-in-fact requirement if he is unable to receive medical screening.”) (citing Pritikin v. Dep't
 3
     of Energy, 254 F.3d 791, 796–97 (9th Cir. 2001)); Sutton v. St. Jude Med. S.C., Inc., 419 F.3d
 4
     568, 575 (6th Cir. 2005) (holding it is “unnecessary” for a plaintiff to demonstrate a quantitative
 5
     increase in the risk associated with using an allegedly defective product for purposes of assessing
 6
     standing because to “require a plaintiff to so clearly demonstrate [his] injury in order to confer
 7

 8   standing is to prematurely evaluate the merits of [his] claims.”).

 9            The Ninth Circuit’s recent decision in Bowen v. Energizer Holdings, Inc. is instructive. In
10   Bowen, the Ninth Circuit reversed the district court’s dismissal of the plaintiff’s case for failure
11
     to establish Article III standing. The plaintiff had alleged the “Banana Boat” sunscreen she
12
     purchased contained benzene, “a carcinogen that scientists have determined can cause cancer.”
13
     2024 U.S. App. LEXIS 24741, at *3-4. The defendants mounted a factual attack to jurisdiction
14

15   and filed a Rule 12(b)(1) motion, arguing that small amounts of benzene are not unsafe, and thus

16   the plaintiff could not demonstrate an injury-in-fact. The defendants relied upon documentation

17   from the Food and Drug Administration (FDA) in support of this contention. Relying on the
18   guidance from the FDA, the district court dismissed the plaintiffs’ case for lack of standing. In
19
     reversing the district court, the Ninth Circuit held that the district court “erred by failing to
20
     construe disputed facts” in the plaintiff’s favor, and, by “prematurely resolving merits issues.” Id.
21
     at *5.
22

23            Bowen involved a factual attack to jurisdiction, such that the district court was permitted

24   to consider evidence outside the pleadings when ruling on injury-in-fact. Even in that context

25   however, the Ninth Circuit cautioned that it is “not the district court’s role to weigh evidence that
26
     implicates both jurisdictional and merits issues.” Id. at *27. Here, on the other hand, Monsanto
27
     has not mounted a factual attack. Rather, the Court’s Order contemplates a facial attack to
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                                                      -7-
      Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1   standing, for which the Ninth Circuit instructs that it “accepts the truth of the plaintiff’s

 2   allegations” under the “familiar Rule 12(b)(6) standard,” and a plaintiff “need not support [his]
 3
     allegations with evidence at the pleading stage.” Id. at n.6, n.7, 27.
 4
            The court’s analysis in Allgood v. GMC is also instructive. In Allgood, Indiana property
 5
     owners alleged that the defendant polluted their properties with toxic chemicals from a nearby
 6
     factory. The plaintiffs filed a negligence claim, seeking an award of “the reasonable and necessary
 7

 8   costs of medical monitoring of the Plaintiffs’ health over their lifetimes” due to exposure. Id. at

 9   *4-5. The defendant filed a motion to dismiss, arguing medical monitoring relief was not available
10   under Indiana law in the absence of present bodily injury. Id. at *5. The district court denied the
11
     motion after an extensive analysis. See id. at *19–23.
12
            Relying principally on the Indiana Court of Appeals’ decision in Gray, the Allgood court
13
     did not require that the plaintiffs quantify the amount by which the toxic chemicals increased their
14

15   risk. Like here, the Allgood plaintiffs alleged that the toxic chemicals to which they were exposed

16   were considered probable human carcinogens. Compare Allgood Amended Compl., ¶¶ 54-56 (Ex.

17   B hereto), with Sheller Compl., ¶¶ 48-50. The Allgood plaintiffs further generally alleged that the
18   exposure “pose[d] an imminent and substantial endangerment to the Plaintiffs and others who
19
     have been and continue to be exposed to PCB’s[sic].” Allgood Amended Compl., ¶ 124. Denying
20
     the motion to dismiss, the court explained:
21
                    For present purposes, this court must assume that plaintiffs will be able to prove
22
                    that their concerns about their future health are reasonably justified. The question
23
                    then would become whether they could prove that the expenses of medical
24
                    monitoring are reasonably necessary and that tortious acts by General Motors
25
                    were a proximate cause of those expenses.
26
     Allgood, 2005 U.S. Dist. LEXIS 43693, *18. The court’s analysis is applicable here where
27
     Plaintiff is at the pleading stage, expert discovery has not yet been completed in these medical
28
                                                     -8-
      Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
      Should Not Be Dismissed For Failure To Adequately Allege Standing, Case No. 3:19-cv-07972
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 1   monitoring cases, and Defendant has not yet filed for summary judgment. See Sutton, 419 F.3d at

 2   571 (“We find the district court incorrectly attempted to evaluate the merits of [plaintiff’s]
 3
     contention that he is entitled to medical monitoring costs. During the threshold standing inquiry,
 4
     the district court should have accepted [plaintiff’s] allegations as true and construed the complaint
 5
     in [plaintiff’s] favor.”).7 Consistent with Supreme Court and Ninth Circuit law on Article III
 6
     standing and Indiana law on tort claims seeking medical monitoring relief specifically, Plaintiff
 7

 8   has alleged a credible injury in fact, satisfying Article III’s standing requirements.

 9                   C. The claims of putative class members from other states should be
                        evaluated at the class certification stage under Fed. R. Civ. P. 23
10
              The Ninth Circuit instructs that “once the named plaintiff demonstrates her individual
11

12   standing to bring a claim, the standing inquiry is concluded, and the court proceeds to consider

13   whether the Rule 23(a) prerequisites for class certification have been met.” Melendres v. Arpaio,

14   784 F.3d 1254, 1262 (9th Cir. 2015) (citing NEWBERG ON CLASS ACTIONS § 2:6). Thus, at this
15
     stage, the only question is whether Plaintiff Sheller has Article III standing to bring a claim on
16
     his own behalf under Indiana law. This Court will later consider whether Plaintiff has
17
     representative capacity under Fed. R. Civ. P. 23 to represent class members who are citizens of
18
     different states where each seeks the same medical monitoring relief. See, e.g., In re Xyrem
19

20   (Sodium Oxybate) Antitrust Litig., No. 20-md-02966-RS, 2023 LEXIS 83876, at *38 (N.D. Cal.

21   May 12, 2023) (“[O]n the question of standing in class actions generally, [the Ninth Circuit] has
22   held that class plaintiffs can represent absent class members whose claims do not ‘implicate a
23

24

25
     7
      Cf. Sommerville v. Union Carbide Corp., 2024 U.S. Dist. LEXIS 86064, *20 (S.D. W.Va. May
     13, 2024) (granting defendant’s summary judgment motion as to state law claim for medical
26   monitoring after excluding the plaintiffs’ expert, explaining: the “unreliable model was then used
     to assume that a speculative disease might someday materialize in some unknown person” and
27   thus the plaintiff failed to “establish an imminent injury sufficient to survive a standing
     challenge.”).
28
                                                      -9-
         Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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 1   significantly different set of concerns.’”) (citing Melendres); see also id. at *40 (“Defendants have

 2   made no suggestion that the laws of the respective Class States differ so significantly as to prevent
 3
     Class Plaintiffs from being either typical of the class members in those states or inadequate to
 4
     represent them. In the absence of such a showing …, there is no Article III standing problem.”);
 5
     Senne v. Kan. City Royals Baseball Corp., No. 14-cv-00608-JCS, 2021 LEXIS 137819, at *66
 6
     (N.D. Cal. July 23, 2021) (same); Kutza v. Williams-Sonoma, Inc., No. 18-cv-03534-RS, 2018
 7

 8   LEXIS 192456, at *8 (N.D. Cal. Nov. 9, 2018) (same). See also Langan v. Johnson & Johnson

 9   Consumer Cos., 897 F.3d 88, 93 (2d Cir. 2018) (“as long as the named plaintiffs have standing to
10   sue the named defendants, any concern about whether it is proper for a class to include out-of-
11
     state, nonparty class members with claims subject to different state laws is a question of
12
     predominance under Fed. R. Civ. P. 23(b)(3), not a question of ‘adjudicatory competence’ under
13
     U.S. CONST. art. III.”) (citations omitted); Morrison v. YTB Int'l, Inc., 649 F.3d 533, 536 (7th Cir.
14

15   2011) (explaining that whether a plaintiff could bring a putative class action on behalf of out-of-

16   state class members “ha[d] nothing to do with standing, though it may affect whether a class

17   should be certified”). Accordingly, Plaintiff’s capacity to represent class members from other
18   states should be evaluated during the class certification stage under Fed. R. Civ. P. 23.
19
                                              CONCLUSION
20
            Plaintiff respectfully requests that this Court find that Plaintiff has demonstrated cause
21
     why he satisfies the standing requirements of Article III and permit his case to proceed.
22
     Alternatively, Plaintiff respectfully requests leave to file an amended complaint.
23

24          Dated: October 4, 2024                             /s/ Elizabeth A. Fegan
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     Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
     Should Not Be Dismissed For Failure To Adequately Allege Standing, Case No. 3:19-cv-07972
           Case 3:16-md-02741-VC Document 19465 Filed 10/04/24 Page 12 of 12



 1                                     CERTIFICATE OF SERVICE

 2

 3          I certify that, on October 4, 2024, I electronically transmitted the foregoing Plaintiff Aaron

 4   Sheller’s Response to the Order to Show Cause Why the Sheller Case Should Not be Dismissed
 5   for Failure to Adequately Allege Standing to the Clerk of the court using the ECF system, which
 6
     served all attorneys of record.
 7

 8
                                                             /s/ Elizabeth A. Fegan
 9                                                              Elizabeth A. Fegan
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      Plaintiff Aaron Sheller’s Response To The Order To Show Cause Why The Sheller Case
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